             Case 2:21-cv-00754-MLP           Document 41         Filed 10/03/22      Page 1 of 3




 1                                                             HONORABLE MICHELLE PETERSON

 2

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 6

 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8
     NANNETTE BASA, an individual,                          Case No. 2:21-cv-00754 JLR
 9
                        Plaintiff,                          DECLARATION OF KAREN RIAPOS IN
10                                                          OPPOSITION TO PLAINTIFF’S
            v.                                              MOTION FOR SANCTIONS FOR
11                                                          SPOLIATION OF EVIDENCE
     BRAND SHARED SERVICES, LLC, a
12   Delaware corporation,                                  HEARING DATE:
                                                            October 7, 2022
13                      Defendant.
14
            I, Karen Riapos, hereby declare:
15

16          1.      I am Defendant Brand Shared Services, LLC’s (“Brand”) Director of Talent

17   Acquisition. I am over the age of eighteen and competent to testify in this matter. I base this

18   declaration on my personal knowledge. I have been working with Brand’s counsel on this case
19   since we first learned of the litigation filed by Plaintiff Nannette Basa (“Plaintiff”).
20
            2.      At my deposition, I mistakenly testified that I had not been asked to search my
21
     phone for text messages related to Plaintiff and the issues in this case. That testimony was
22
     incorrect: I forgot that I had been asked to search my phone and that I had done so.
23

24          3.      I searched my phone for text messages related to Plaintiff and the issues in this

25   case both before my deposition and again afterwards. I have not found any text messages that

26
     DECLARATION OF KAREN RIAPOS IN OPPOSITION TO PLAINTIFF’S
     MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE - 1
                                                                                        SEYFARTH SHAW LLP
     (CAUSE NO. 2:2-CV-00754 JLR)                                                         999 Third Avenue
                                                                                               Suite 4700
                                                                                       Seattle, WA 98104-4041
                                                                                            (206) 946-4910
             Case 2:21-cv-00754-MLP           Document 41       Filed 10/03/22      Page 2 of 3




 1   are responsive to Plaintiff’s requests for production. I did not destroy or otherwise remove any
 2   text messages I had about Plaintiff. When she worked for Brand, I communicated with Plaintiff
 3
     primarily via electronic mail. I also spoke with her during the time period in which I supervised
 4
     her performance. We did not send text messages.
 5
             4.      Similarly, I did not send text messages with other people about Plaintiff. I did not
 6

 7   send text messages to Nicole Norris, or Ryan Wilson about Plaintiff. I do not recall having

 8   exchanging any communications with Nicole Norris or Ryan Wilson about Plaintiff (either by

 9   email or verbally). They were all my direct reports and I would not have been sending messages
10
     to them about one of their colleagues.
11
             5.      I also did not send text messages to Rod Broschinsky or Michelle Roman about
12
     Plaintiff. While I had a cell phone provided by Brand, I did not use text messages to
13
     communicate with my colleagues. I used email, the Teams messaging system, and I spoke with
14

15   people either in person or on the phone.

16           6.      I helped look for a physical file that my former coworker Rod Broschinsky kept
17   related to Plaintiff. I conducted a diligent search but, despite my best efforts, I have been unable
18
     to locate the physical file.
19
             I declare under penalty of perjury under the laws of the United States of America that the
20
     foregoing is true and correct to the best of my knowledge.
21
                       Kennesaw
             Signed in _______________, Georgia this 3rd day of October, 2022.
22

23
                             _________________________________________
24                           Karen Riapos
                             Director of Talent Acquisition for Defendant Brand Shared Services
25

26   DECLARATION OF KAREN RIAPOS IN SUPPORT OF
     DEFENDANT’S OPPOSITION TO PLAINTIFF’S
     MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE - 2
                                                                                      SEYFARTH SHAW LLP
     (CAUSE NO. 2:21-CV-00754 JLR)                                                      999 Third Avenue
                                                                                             Suite 4700
                                                                                     Seattle, WA 98104-4041
                                                                                          (206) 946-4910
            Case 2:21-cv-00754-MLP           Document 41       Filed 10/03/22     Page 3 of 3




 1                                   CERTIFICATE OF SERVICE
 2          I hereby declare that on this 3rd day of October, 2021, I caused a copy of Declaration of

 3   Karen Riapos in Support of Defendant Brand Shared Services, LLC’s Response in Opposition

 4   to Plaintiff’s Motion for Sanctions to be electronically filed with the Court using ECF-Filing

 5   system which will send notification of such filing to the following:

 6          Alexander J. Higgins
 7          Law Offices of Alex J. Higgins
            2200 6th Avenue, Ste. 500
 8          Seattle, WA 98121
            P: (206) 340-4856
 9          alex@alexjhiggins.com
10          Cody Fenton- Robertson
            Bean Law Group
11
            2200 6th Avenue, Ste. 500
12          Seattle, WA 98121
            P: (206) 5220618
13          cody@beanlawgroup.com
14
                                                  s/ Valerie Macan
15                                                Valerie Macan
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26   DECLARATION OF KAREN RIAPOS IN SUPPORT OF
     DEFENDANT’S OPPOSITION TO PLAINTIFF’S
     MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE - 3
                                                                                    SEYFARTH SHAW LLP
     (CAUSE NO. 2:21-CV-00754 JLR)                                                    999 Third Avenue
                                                                                           Suite 4700
                                                                                   Seattle, WA 98104-4041
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